Case 2:16-cv-00450-JRG Document 100 Filed 09/07/16 Page 1 of 2 PageID #: 973




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-0450-JRG
                                    §
vs.                                 §                LEAD CASE
                                    §
CITIBANK, NA                        §
                                    §
      Defendant.                    §
____________________________________§
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-0596-JRG
                                    §
vs.                                 §                CONSOLIDATED CASE
                                    §
ACTIONTEC ELECTRONICS, INC.         §
                                    §
      Defendant.                    §
____________________________________§

   JOINT MOTION TO DISMISS ACTIONTEC ELECTRONICS WITH PREJUDICE


       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Symbology
Innovations, LLC (“Symbology”) files this “Joint Motion to Dismiss Defendant Actiontec
Electronics (“Actiontec”) With Prejudice. All claims between the parties have been resolved.
       Wherefore, Symbology moves this Court to dismiss all claims by Symbology Innovations,
LLC against Actionec with prejudice and all claims by Actiontec against Symbology Innovations
as moot, with each party to bear its own costs, attorney’s fees, and expenses, and further requests
that the Court enter the proposed order of dismissal submitted herewith.
Case 2:16-cv-00450-JRG Document 100 Filed 09/07/16 Page 2 of 2 PageID #: 974




Dated: September 7, 2016                    Respectfully submitted,
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                               CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are
being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3) on September 7, 2016.

                                            /s/ Jay Johnson
                                            Jay Johnson
